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7

8
                             IN THE UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )                  2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )                  STIPULATION AND
14                                       )                  ORDER TO ALLOW DEFENDANT
     v.                                  )                  TO TRAVEL TO MEXICO
15                                       )
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20                                             STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, and Defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, hereby stipulate that Ms. Hermosillo may, with the permission of her pretrial services
24

25   officer, and pursuant to such conditions as required by her pretrial services officer, travel to

26   Mexicali, Mexico at any time between December 20, 2018 and January 7, 2019 to visit her
27
     family for the holidays. Ms. Hermosillo has traveled to Mexico to visit family on 10 prior
28



                                              Stipulation and Order - 1
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1    occasions while on pretrial release in this case, and there have been no reported violations of the
2
     court-imposed travel conditions.
3
            It is further stipulated that pretrial services shall return Ms. Hermosillo’s passport to her
4

5
     on the date of the filing of the proposed order to permit Ms. Hermosillo to travel to Mexico on or

6    after December 20, 2018. Ms. Hermosillo must return to the United States no later than January
7    7, 2019 and must check in with and surrender her passport to her pretrial services officer within
8
     24 hours of returning to the United States, but in no event later than January 8, 2019.
9
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
10

11   IT IS SO STIPULATED.

12   Dated: December 13, 2018                      MCGREGOR SCOTT
                                                   United States Attorney
13

14                                         By:     /s/ Brian Fogerty
                                                   BRIAN FOGERTY
15                                                 Assistant United States Attorney
16

17
     Dated: December 13, 2018                      /s/ Erin J. Radekin
18                                                 ERIN J. RADEKIN
19
                                                   Attorney for Defendant
                                                   SANDRA HERMOSILLO
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21

22   IT IS SO ORDERED.

23   Dated: December 17, 2018
24

25

26

27

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                                              Stipulation and Order - 2
